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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

FINNAVATIONS LLC,

               Plaintiff,

       v.                                                  C.A. No. 1:18-cv-00444-RGA

PAYONEER INC.,

               Defendant.



            SUPPLEMENTAL DECLARATION OF JEREMY D. ANDERSON

I, Jeremy D. Anderson, declare as follows:

       1.      I am over the age of 21 and fully competent to make this declaration. I have personal

knowledge of the facts stated herein and they are all true and correct.

       2.      I am a Principal Attorney with the law firm of Fish & Richardson P.C. My firm and

I acted as counsel for Defendant Payoneer Inc. since the inception of this lawsuit. It is in that

capacity that I have obtained knowledge of the facts described herein.

       3.      Under its fee arrangement with Payoneer in this case, Fish & Richardson P.C.

charged its usual and customary fixed hourly rates. Payoneer incurred $121,211.50 in attorneys’

fees. A true and correct summary spreadsheet showing the total amount of attorneys’ fees billed

to Payoneer in this matter is attached hereto as Exhibit 1, and copies of the invoices reflecting

these fees are attached as Exhibit 2. The materials in Exhibit 2 are redacted only to protect

information protected by attorney-client and work product privileges.

       4.      In my opinion, the fees described herein were, are, and will be reasonably and

necessarily incurred in defending this case. I believe that the total amount of fees is extremely

reasonable for a case of this nature considering the legal issues and briefing that was required. The
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fees are also appropriate for the skill level of the attorneys involved, the complexity of the case,

and the normal and customary fees charged for patent litigation in the District of Delaware.



Executed this 30th day of January, 2019.



                                                                     /s/ Jeremy D. Anderson
                                                                     Jeremy D. Anderson




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